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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
              v.                             :      Case No. 21-CR-175-1 (TJK)
                                             :
ETHAN NORDEAN,                               :
                                             :
                      Defendant.             :
                                             :

                      UNITED STATES’ NOTICE OF CORRECTION

       The United States files this notice of correction along with the refiling of its Surreply to

Defendant Nordean’s Motion to Dismiss. In its original filing, the United States asserted that

Defendant Nordean had misidentified a photograph of the protests on October 6, 2018. Such

assertion was incorrect and has been removed from page 1 and footnote 2 of the corrected filing.



                                             Respectfully submitted,

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                                             Acting United States Attorney
                                             DC Bar No. 415793


                                    By:      /s/ Jason McCullough
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        Case 1:21-cr-00175-TJK Document 133 Filed 08/01/21 Page 2 of 2




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on August 1, 2021.



                                       By:       /s/ Jason McCullough
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